               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                       CASE NO. 1:14-CV-954

 STUDENTS FOR FAIR ADMISSIONS,
 INC.,

                     Plaintiff,
                                             PLAINTIFF’S MOTION TO EXCLUDE
                    v.                      LATE-DESIGNATED WITNESSES AND
                                               LATE-PRODUCED DOCUMENTS

 UNIVERSITY OF NORTH CAROLINA et
 al.,

                     Defendants.



      Pursuant to Federal Rules of Civil Procedure 26 and 37, Plaintiff

Students for Fair Admissions, Inc. (“SFFA”) respectfully files moves to exclude

three fact witnesses disclosed and five documents produced on July 13,

2018—more than a full year after the close of fact discovery—and to limit the

testimony of a fourth fact witness to matters disclosed during the fact

discovery period.

      The default remedy for such late disclosures is exclusion of the

witnesses and documents from the case entirely. See Syngenta Crop Prot., LLC

v. Willowood, LLC, 2017 WL 3309699, at *1 (M.D.N.C. Aug. 2, 2017). The

burden rests with the party facing exclusion “for belated disclosure to show




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that its failure to comply with [the Federal Rules] was either justified or

harmless.” S. States Rack & Fixture, Inc. v. Sherwin-Williams Co., 318 F.3d 592,

596 (4th Cir. 2003) (quotation omitted). UNC cannot meet its burden.

      For the reasons stated in the accompanying brief, SFFA respectfully

requests that this Court grant SFFA’s motion.


      Respectfully submitted,


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                                                     Attorneys for Plaintiffs




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Dated: August 3, 2018




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                            L.R. 37.1 Certificate

      The undersigned hereby certifies that this motion was filed only after

personal consultation and diligent attempts to resolve the differences.

Specifically, counsel for the parties met and conferred about the disputed

issues on or about July 19, 2018 (with follow-up email communications on

July 20 and July 31, 2018). The parties were able to narrow their differences

to some extent; the differences that remain are the subject of this motion.

Participants in the teleconference included Marianne Combs and Stephanie

Brennan for UNC and Patrick Strawbridge for SFFA.



                                             /s/ Thomas R. McCarthy
                                             Thomas R. McCarthy




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                         CERTIFICATE OF SERVICE

      I hereby certify that I served the foregoing pleading via the Court’s

electronic filing system, pursuant to the Electronic Filing Procedures, on all

attorneys of record who have entered an appearance by ECF in this matter.

      This the 3rd day of August, 2018.


                                              /s/ Thomas R. McCarthy
                                              Thomas R. McCarthy




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